Case 17-52865-pmb   Doc 73   Filed 03/13/17 Entered 03/14/17 12:27:30   Desc Main
                             Document     Page 1 of 6
Case 17-52865-pmb   Doc 73   Filed 03/13/17 Entered 03/14/17 12:27:30   Desc Main
                             Document     Page 2 of 6
Case 17-52865-pmb   Doc 73   Filed 03/13/17 Entered 03/14/17 12:27:30   Desc Main
                             Document     Page 3 of 6
Case 17-52865-pmb   Doc 73   Filed 03/13/17 Entered 03/14/17 12:27:30   Desc Main
                             Document     Page 4 of 6
Case 17-52865-pmb   Doc 73   Filed 03/13/17 Entered 03/14/17 12:27:30   Desc Main
                             Document     Page 5 of 6
Case 17-52865-pmb   Doc 73   Filed 03/13/17 Entered 03/14/17 12:27:30   Desc Main
                             Document     Page 6 of 6
